               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:98 CR 331-2


UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )             ORDER
                                               )
MICHAEL ALONZO ROBINSON,                       )
                                               )
                 Defendant.                    )
____________________________________           )


       THIS CAUSE coming on to be heard and being heard before the undersigned

upon a violation report filed in the above entitled cause on October 28, 2010 by the

United States Probation Office. In the violation report, the United States Probation

Office alleges that defendant had violated terms and conditions of his pretrial release.

At the call of this matter on for hearing it appeared defendant was present with his

counsel, Frank Abrams, and the Government was present through Assistant United

States Attorney, David Thorneloe, and from the evidence offered and from the

statements of the Assistant United States Attorney and the attorney for the defendant,

and the records in this cause, the court makes the following findings.

       Findings: At the call of the matter, the defendant, by and through his attorney,

admitted the allegations contained in the violation report that had been filed on

October 28, 2010.

       The defendant plead guilty to the offense of conspiracy with intent to distribute



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cocaine base on April 26, 1999. Defendant was sentenced by the Hon. Lacy H.

Thornburg, United States District Judge for the Western District of North Carolina on

January 7, 2000 to a term of imprisonment of not more than 120 months. Defendant

was released on terms and conditions of pretrial release and began serving a term of

supervised release on May 9, 2008. On September 21, 2010 a petition was filed

alleging that defendant had violated terms and conditions of his supervised release.

A detention hearing was held in regard to the detention of defendant on September

30, 2010. On that date, the undersigned entered an order releasing defendant on a

$25,000 unsecured bond. The undersigned further set conditions of release which

included the following:

      (1)    That the defendant shall not commit any offense in violation of federal,

             state or local law while on release.

      (8)(p) Refrain from use or unlawful possession of a narcotic drug or other

             controlled substances defined in 21 U.S.C. § 802, unless prescribed by

             a licensed medical practitioner.

      On October 25, 2010 defendant notified his United States Probation Officer that

over the previous weekend he had used marijuana in violation of the terms and

conditions of his release. Defendant, at that time, stated that he wanted to be detained

so as to not cause any problems for his mother.



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         Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial officer

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         (1)    finds that there is----
                (A) probable cause to believe that the person has committed a
         Federal, State, or local crime while on release; or
                (B) clear and convincing evidence that the person has violated any
          other condition of release; and
         (2)    finds that ---
                (A) based on the factors set forth in section 3142(g) of this title, there
         is no condition or combination of conditions of release that will assure that the
         person will not flee or pose a danger to the safety of any other person or the
         community; or
                (B) the person is unlikely to abide by any condition or combination
         of conditions of release.

       If there is probable cause to believe that, while on release, the person committed
a Federal, State, or local felony, a rebuttable presumption arises that no condition or
combination of conditions will assure that the person will not pose a danger to the
safety of any other person or the community.”


         Based upon the evidence, the undersigned finds there is probable cause to

believe defendant committed a state crime while on release. Defendant has admitted

he possessed and consumed marijuana. That possession violated at least state law.

N.C.G.S. § 90-95(a)(3).

         There has further been shown by clear and convincing evidence that defendant

violated a condition of release in that he has been shown by the admission of

defendant he has violated the term and condition of release that requires he refrain


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from use or unlawful possession of a narcotic drug unless prescribed by a licensed

medical practitioner. Defendant has clearly violated this condition by possessing

marijuana which is a drug which is not prescribed by a licensed medical practitioner.

      Due to the findings made above and further considering the presumption that

has been created and also considering the factors as set forth in 18 USC § 3142(g), it

appears there is no condition or combination of conditions of release that would assure

that the defendant will not pose a danger to the safety of any other person or the

community. It is the opinion of the undersigned that based upon the defendant’s

actions, it is unlikely defendant will abide by any condition or combination of

conditions of release. As a result of the above referenced findings, the undersigned

has determined to enter an order of revocation revoking the unsecured bond and the

terms of pretrial release previously issued in this matter and entering an order

detaining the defendant.



                                      ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is

ORDERED defendant be detained pending further proceedings in this matter.




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                                Signed: November 8, 2010




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